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 7

 8                                   UNITED STATES DISTRICT COURT

 9                                  CENTRAL DISTRICT OF CALIFORNIA

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11 AMBER M. ORTIZ,                                   Case No. 2:22-cv-2303
12                     Plaintiff,                    NOTICE OF REMOVAL OF
                                                     ACTION UNDER 28 U.S.C. § 1441(a)
13                v.
                                                     Los Angeles County Superior Court
14 SMASHBOX BEAUTY COSMETICS,                        Case Number 21STLC08239
     INC. and DOES 1-50,
15                                                   Action Filed:    November 16, 2021
                       Defendants.                   Trial Date:      May 16, 2023
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 1 TO THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT

 2 COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA:

 3                PLEASE TAKE NOTICE that Defendant SMASHBOX BEAUTY
 4 COSMETICS, INC. (“Defendant”) hereby removes to this Court the state court

 5 action described below.

 6 I.             FILING AND SERVICE OF THE COMPLAINT
 7                1.   On November 16, 2021, Plaintiff AMBER M. ORTIZ (“Plaintiff”)
 8 filed a Complaint (the “Complaint”) in the Superior Court of California for the

 9 County of Los Angeles, thereby commencing a lawsuit, entitled Amber M. Ortiz vs.

10 Smashbox Beauty Cosmetics, Inc.; and Does 1-50, Case No. 21STLC08239 (the

11 “State Court Action”).

12                2.   Defendant was served with a copy of the Complaint on March 16,
13 2021. Attached hereto as Exhibit 1 are true and correct copies of all process,

14 pleadings, and orders served upon Defendant in the State Court Action. Defendant

15 has not yet responded to the Complaint. There are no other named defendants.

16 II.            REMOVAL IS PROPER BECAUSE THIS COURT HAS FEDERAL
                  QUESTION JURISDICTION
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                  3.   Defendant is entitled to remove the State Court Action to this Court
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     because it is a civil action brought in a state court which is being removed to the
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     District Court for the District where the action is pending, and over which this Court
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     has original jurisdiction because the State Court Action asserts a claim arising under
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     the laws of the United States. See 28 U.S.C. §§ 1331, 1441(a). Specifically, the
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     Complaint in the State Court Action asserts claims for alleged violations of the
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     Americans with Disabilities Act, 42 U.S.C. § 12101 et seq.
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     III.         THIS NOTICE OF REMOVAL IS TIMELY AND PROPERLY FILED
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                  4.   Pursuant to 28 U.S.C. § 1446(b), this Notice of Removal is being filed
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     within 30 days after receipt by Defendant, through service or otherwise, of a copy of
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     the Complaint in the State Court Action, which was the paper from which it could
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 1 first be ascertained that the case is one which is or has become removable.

 2                5.    In compliance with 28 U.S.C. § 1446(d), Defendant will provide
 3 written notice of the filing of this Notice of Removal to all adverse parties and file a

 4 copy with the clerk of court in the State Court Action.

 5                6.    The undersigned counsel for Defendant has read the foregoing and
 6 signs the Notice of Removal pursuant to Rule 11 of the Federal Rules of Civil

 7 Procedure, as required by 28 U.S.C. § 1446(a).

 8 IV.            CONCLUSION
 9                Defendant respectfully requests that this action be removed from the Superior
10 Court of California for the County of Los Angeles to the United States District

11 Court for the Central District of California.

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13 DATED: April 6, 2022                    JEFFER MANGELS BUTLER & MITCHELL LLP
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                                           MATTHEW S. KENEFICK
                                           ARIELLE E. BROWN
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17                                         By:
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                                                              ARIELLE E. BROWN
                                                    Attorneys for SMASHBOX BEAUTY
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